      Case 1:12-cv-01236-WMS-MJR Document 201-1 Filed 10/25/18 Page 1 of 11



UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
____________________________________________

PAMELA S. SMALL,

                               Plaintiff,
        v.


THE STATE OF NEW YORK, et al.,

                                Defendants.
    ____________________________________________
 




                      PLAINTIFF’S MOTION FOR ATTORNEYS’
                        FEES, PRE- AND POST-JUDGMENT
                             INTEREST AND COSTS


                            Civil Action No.: 12-CV-01236




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    Case 1:12-cv-01236-WMS-MJR Document 201-1 Filed 10/25/18 Page 2 of 11



                                PRELIMINARY STATEMENT

       Plaintiff submits this Memorandum of Law in support of her Motion for Attorneys’

Fees, Pre and Post Judgment Interest and Costs. For the reasons described in this

Memorandum, as well as in the Affirmation of Jennifer A. Shoemaker, Esq., dated

October 25, 2018 (“Shoemaker Affirmation”), Plaintiff’s motion should be granted in its

entirety.

Plaintiff Is Entitled to Prejudgment and Post-Judgment Interest on Her Award

       Plaintiff requests prejudgment interest on her back pay award.        Plaintiff also

requests post-judgment interest be awarded on her award determined by the length of

time payment on her jury award is delayed.

       Courts have discretion to award prejudgment interest on back pay awards under

both Title VII and New York State Human Rights Law. “Prejudgment interest prevents

the defendant employer from attempting to enjoy an interest-free loan for as long as it can

delay paying out back wages and helps to ensure that the plaintiff is meaningfully made

whole.” Matusick v. Erie Cty. Water Authority, 774 F. Supp. 2d 514, 529 (W.D.N.Y. 2011)

(internal citations omitted).

       While whether to award prejudgment interest is within the discretion of the Court,

“to the extent that the damages awarded to the plaintiff represent compensation for lost

wages, it is ordinarily an abuse of discretion not to include pre-judgment interest.”

Tuszynski v. Innovative Svcs., Inc., 2005 WL 221234, at *7 (W.D.N.Y. Jan. 29, 2005)

(internal citations omitted). Courts may also use their discretion to award prejudgment

interest on awards for pain and suffering and emotional distress under Title VII.

Lamberson v. Six West Retail Acquisition, Inc., 2002 WL 207016, at *1 (S.D.N.Y. Feb.



                                             2
 
    Case 1:12-cv-01236-WMS-MJR Document 201-1 Filed 10/25/18 Page 3 of 11



11, 2002); see also Robinson v. Instructional Sys., Inc., 80 F. Supp. 2d 203, 207-208

(S.D.N.Y. 2000) (awarding prejudgment interest on mental anguish award “in order to

meaningfully make plaintiff whole”); Perdue v. City Univ. of New York, 13 F. Supp. 2d

326, 342 (E.D.N.Y. 1998) (awarding prejudgment interest on Title VII award of

compensatory damages for pain and suffering and mental anguish).

       In this case, it is entirely appropriate to award prejudgment interest to Plaintiff’s

awards for pain, suffering and emotional distress. The psychological damage that Plaintiff

suffered in this case was significant, as the jury clearly recognized, and Plaintiff should

be made “meaningfully whole,” especially when considering the severity of Defendants’

proven illegal acts.

       The interest rate to be applied to a calculation of prejudgment interest is similarly

within the discretion of the Court. Robinson, 80 F. Supp. 2d at 208. In cases with both

federal and state claims, although district courts often use the rate of interest provided in

28 U.S.C. § 1961, it is not compulsory. A court may also decide to use the interest rate

identified in CPLR 5004.

       Here, the jury issued a decision as to Plaintiff’s front and back pay awards under

the New York State Human Rights Law. The Court has previously indicated that it will

take the jury’s award as advisory when considering Plaintiff’s front and back pay award

under her Title VII claims. As the jury made its determination under Plaintiff’s New York

State claim, Plaintiff urges the Court to use the applicable New York State interest rate to

determine the amount of prejudgment interest to which she is entitled.

       As more fully described in the Shoemaker Affirmation, this case has suffered

numerous delays due to events beyond Plaintiff’s control. (Shoemaker Affirmation at ¶¶



                                             3
 
    Case 1:12-cv-01236-WMS-MJR Document 201-1 Filed 10/25/18 Page 4 of 11



24-35). Applying the federal rate of interest allows Defendants to reap a financial win

from delays that Defendants themselves caused. In addition, as the Court is aware and

as the jury recognized, the evidence supporting the jury’s verdict is overwhelming.

Despite having knowledge of all of that evidence from the onset of litigation, Defendants

instead chose to fight Plaintiff at every step instead of resolving this and making Plaintiff

whole for what she suffered due to Defendants’ illegal conduct. (Shoemaker Affirmation

at ¶¶ 40-41). This purposeful delay in justice also militates in favor of awarding Plaintiff

the New York State interest rate to determine prejudgment interest.

       As is the practice within the Second Circuit, whatever rate is ultimately applied to

Plaintiff’s judgment, prejudgment interest should be calculated as though it had been

compounded annually. Becerril v. East Bronx NAACP Child Develop. Ctr., 2009 WL

2611950, at *5 (S.D.N.Y. Aug. 18, 2009) (citing Saulpaugh v. Monroe Community Hosp.,

4 F.2d 134, 145 (2d Cir. 1993) (an award of back pay can only make a plaintiff whole if

the interest is compounded).

       Post-judgment interest is mandatory on awards in civil cases from the date

judgment is entered.     28 U.S.C. § 1961.       Post-judgment interest is “designed to

compensate the plaintiff for the delay it suffers from the time damages are reduced to an

enforceable judgment to the time the defendant pays the judgment.”             Andrulonis v.

U.S., 26 F.3d 1224, 1230 (2d Cir. 1994). Post-judgment interest should be accrued on

the entire judgment in Plaintiff’s favor, including the award of attorney’s fees, costs, and

the amount of pre-judgment interest.          See Zakre v. Norddeutsche Landesbank

Girozentrale, 2008 WL 2557420, at *2 (S.D.N.Y. June 26, 2008).




                                             4
 
    Case 1:12-cv-01236-WMS-MJR Document 201-1 Filed 10/25/18 Page 5 of 11



Plaintiff is Entitled to Her Attorneys’ Fees

       Under both Title VII and Section 1983, both claims on which Plaintiff prevailed in

this matter, a court is authorized to award attorneys’ fees and costs to the prevailing party.

A jury found in favor of Plaintiff on each and every one of her claims in this lawsuit, and

as such, Plaintiff is entitled to fees and costs as the prevailing party.

       Plaintiff’s case was litigated by attorneys Jennifer Shoemaker, Esq. and Alina

Nadir, Esq. Ms. Shoemaker worked on Plaintiff’s case from its inception in 2012 until the

present. Co-counsel Ms. Nadir joined the case in 2014 until the present. Ms. Shoemaker

is a partner at Underberg & Kessler LLP with over eighteen (18) years of litigation

experience. One of Ms. Shoemaker’s primary areas of practice is employment law. Ms.

Nadir is an associate at Underberg & Kessler LLP with over eight (8) years of litigation

experience. Her primary area of practice is employment law.           Counsel’s billing rates

have changed over the many years this case has been pending.                At present, Ms.

Shoemaker’s rate is $320 and Ms. Nadir’s rate is $260. (Shoemaker Affirmation at ¶¶ 43,

44, 46).  

       Paralegal Janice Hance was instrumental in supporting the litigation of Plaintiff’s

claims. Ms. Hance has over twenty-eight (28) years of experience as a litigation paralegal

and has worked on Plaintiff’s case from its onset with Ms. Shoemaker. Her current hourly

rate is $175. (Shoemaker Affirmation at ¶ 45).

       The hourly rates applicable to Plaintiff’s legal fees are a reasonable rate for the

Western District of New York. WDNY courts have found similar rates to be acceptable

when making fee awards under relevant statutes. See Murray v. Coleman, 232 F. Supp.

3d 311, 317 (W.D.N.Y. 2017) (finding in-court time at $300 per hour and out-of-court time



                                               5
 
    Case 1:12-cv-01236-WMS-MJR Document 201-1 Filed 10/25/18 Page 6 of 11



at $275 per hour reasonable in Section 1983 action); Davis v. Shah, 2017 WL 2684100

(W.D.N.Y. 2017) (approving hourly rates from $375 to $260 for attorneys); Dunda v.

Aetna Life Ins. Co., 2016 WL 4831962, at *3 (W.D.N.Y. 2016) (hourly rate of $320 per

hour reasonable in an ERISA action); Davis v. Eastman Kodak Co., 758 F. Supp. 2d 190

(W.D.N.Y. 2010) (approving $350 hourly rate for attorneys with 11-20 years of experience

and $300 hourly rate for 6-10 years of experience in Title VII matter).

       Once an hourly rate has been established, the Court must determine a reasonable

fee for the legal services. “The starting point for the determination of a reasonable fee is

the calculation of the lodestar amount,” and there is a “strong presumption that the

lodestar figure represents a reasonable fee.” Quaratino v. Tiffany & Co., 166 F.3d 422,

425 (2d Cir. 1999) (internal citations omitted).

       Recently, the Western District has considered the following factors when

determining a reasonable fee, including the following:

              1) the time and labor required; 2) the novelty and difficulty of
              the questions; 3) the level of skill required to perform the legal
              service properly; 4) the preclusion of employment by the
              attorney due to acceptance of the case; 5) the attorney’s
              customary hourly rate; 6) whether the fee is fixed or
              contingent; 7) the time limitations imposed by the client or the
              circumstances; 8) the amount involved in the case and the
              results obtained; 9) the experience, reputation, and ability of
              the attorneys; 10) the ‘undesirability’ of the case; 11) the
              nature and lengthy of the professional relationship with the
              client; and 12) awards in similar cases.

       Costa v. Sears Home Improvement Products, 212 F. Supp. 3d 412 (W.D.N.Y.

2016) (internal citations omitted).

       Plaintiff’s lawsuit has been pending since 2012 with the preceding administrative

matter commenced in 2011, and the factual background of her claims is complicated and



                                              6
 
    Case 1:12-cv-01236-WMS-MJR Document 201-1 Filed 10/25/18 Page 7 of 11



very detailed. Plaintiff’s attorneys began representing Ms. Small in 2011 soon after she

was forced to leave work due to Defendants’ illegal actions. Notably, Plaintiff is an

individual, and she had to fight this lawsuit for nearly a decade against the State of New

York. The matter has been repeatedly delayed due to circumstances beyond Plaintiff’s

control, including the purported discovery of an unwaivable conflict after the matter had

already been pending for two years. (Shoemaker Affirmation, generally).

       Litigating this lawsuit has been complex and time-consuming. This lawsuit has

been pending for seven (7) years, and Plaintiff had to prove her case on multiple causes

of action against multiple defendants. Discovery in this matter included thousands and

thousands of pages of documents and over fifteen (15) depositions. Her attorneys spent

over two full weeks just conducting necessary depositions. The parties had to engage in

motion practice on several occasions, including a motion to dismiss and summary

judgment motions. The parties then had to prepare for trial three (3) times, the first two

trials being called off on very short notice. On each occasion, counsel for Plaintiff had to

engage in lengthy trial preparation and refamiliarize themselves with the thousands of

pages of documents and testimony in order to be adequately prepared to represent

Plaintiff. Plaintiff also had to incur fees unnecessarily, such as her recent motion in limine

regarding Defendants’ psychological expert due to their failure to adhere to the Court’s

previous Order. (Shoemaker Affirmation at ¶¶ 19, 21-39, 68).

       Litigating this matter has certainly precluded Plaintiff’s attorneys from accepting

representation in other matters in which a client would pay a reliable hourly rate, and

Plaintiff’s counsel took on Plaintiff’s case not knowing whether at the end of this lengthy

battle, counsel would see any attorneys’ fees. Plaintiff certainly does not have the ability



                                              7
 
    Case 1:12-cv-01236-WMS-MJR Document 201-1 Filed 10/25/18 Page 8 of 11



to pay legal fees herself. Many others would not take on this case given the high level of

risk involved with a contingency fee structure, especially given Defendants’ choice to fight

Plaintiff every step of the way instead of acknowledging that their illegal acts harmed

Plaintiff. Plaintiff repeatedly tried to discuss realistic settlement numbers, but was all but

rebuffed by Defendants. (Shoemaker Affirmation at ¶¶ 41, 43-46).

       It is indisputable that the jury award in this case is significant and that Plaintiff’s

counsel obtained a substantial award on Plaintiff’s behalf. The fees sought by Plaintiff’s

counsel represents only a fraction of Plaintiff’s total award from the jury. (Shoemaker

Affirmation, Exhibit A). In similar cases, significant fee awards that were close to the

amount of judgment, or even surpassed the amount of judgment, were found to be

reasonable. See Mugavero v. Arms Acres, Inc., 2010 WL 451045 (S.D.N.Y. 2010)

(judgment with interest of $789,611 and fees of $557,791); Grant v. Bethlehem Steel

Corp., 973 F.2d 96 (2d Cir. 1992) (upholding fee award of $512,590 where settlement

amount was $60,000).

       In some situations, counsel and staff working on this matter used “block-billing” to

fully capture time expended on a given day with multiple tasks included in the description.

Such block-billing is “not prohibited as along as the Court can determine the

reasonableness of the work performed.” Rodriguez v. McLoughlin, 84 F. Supp. 2d 417,

425 (S.D.N.Y. 1999). “It is not necessary to know the exact number of minutes spent nor

the precise activity to which each hour was devoted nor the specific attainments of each

attorney,” United States Football League, v. Nat’l Football League, 704. F. Supp. 474,

477 (1989), as Courts must look at the “big picture.” Burr v. Sobol, 748 F. Supp. 97, 100

(S.D.N.Y. 1990). In addition, general descriptions or work summaries without a detailed



                                              8
 
    Case 1:12-cv-01236-WMS-MJR Document 201-1 Filed 10/25/18 Page 9 of 11



listing of tasks, such as “case preparation” can be “sufficiently concrete, when viewed in

context, to permit the court to make a judgment about the reasonableness of the total

hours claimed.” Mugavero v. Arms Acres, Inc., 2010 WL 451045, at *7 (S.D.N.Y. 2010)

(internal citations omitted). “The court is not required to assess each entry in isolation;

rather, it may use its knowledge of the case and the demands that the issues posed by

the case placed on the attorneys to judge whether counsel were . . . performing with less

than reasonable efficiency.” Id.

       A thorough consideration of all of the factors described above certainly weighs in

favor of Plaintiff’s counsel receiving the full lodestar amount legal fees requested.

Plaintiff’s Expert Fees Should Be Reimbursed

       42 USCA § 2000e-5 expressly provides that a prevailing party is entitled not only

to attorneys’ fees, but expert fees. See U.S. v. City of New York, 2013 WL 5542459, at

*13 (E.D.N.Y. 2013) (“An award of fees under Title VII explicitly includes award of expert

fees.”) The complexity of Plaintiff’s economic damages as well as the severity of her

emotional damages necessitated the use of experts. No layperson could have sufficiently

described either the economic effects of Defendants’ actions nor the devastating effect of

Defendants’ conduct on Plaintiff’s psychological wellbeing. Experts were necessary to

explain these issues to the jury.

       As fully described in the Shoemaker Affirmation, both experts retained by Plaintiff

are well-respected in their fields. In fact, Dr. Lesswing is often called by the State of New

York as a psychological expert. Each has had a lengthy career in their fields. Dr. Reagles

led an entire department at Syracuse University in his field for over ten (10) years. The

assessment and testimony of each was integral to Plaintiff’s case and a thorough



                                             9
 
    Case 1:12-cv-01236-WMS-MJR Document 201-1 Filed 10/25/18 Page 10 of 11



presentation of her damages, both economic and psychological. (Shoemaker Affirmation,

Exhibits B and C).

Plaintiff’s Costs Were Reasonably Incurred and Should be Reimbursed

       Plaintiff incurred numerous costs associated with prosecuting her case.           The

expenditures for which Plaintiff seeks reimbursement are “routinely recoverable,”

including “costs for legal research, photocopies, overnight mail delivery, court reporters,

transcripts, process servers, court imposed filing fees, expert fees and travel-related

expenses.”    Olsen v. County of Nassau, 2010 WL 376642, at *8 (E.D.N.Y. 2010)

(collecting cases regarding the reimbursable nature of litigation-related costs).

       Plaintiff’s travel-related costs were incurred due to the need for her attorneys to

travel for necessary proceedings such as the numerous depositions conducted and court

appearances. On some of these occasions, meals were necessary as some proceedings,

such as the depositions, lasted full days. In addition, during trial, Plaintiff’s attorneys

incurred hotel costs. Given the need to adequately prepare for trial each day and the

need to be able to consult with Plaintiff after proceedings concluded for the day, Plaintiff’s

trial team required lodging during trial. Of course, this also necessitated meal purchases.

       In all respects, Plaintiff’s attorneys sought to keep the costs of these necessities

as reasonable as possible, including comparison shopping for a hotel during trial and

negotiating the price with hotel management. These costs are not part of routine office

overhead; these costs were incurred only due to the nature of this particular case. A

detailed listing of costs are contained within Exhibit D to the Shoemaker Affirmation.




                                             10
 
    Case 1:12-cv-01236-WMS-MJR Document 201-1 Filed 10/25/18 Page 11 of 11



       Plaintiff also incurred legal research fees. Any such research was completed to

ensure counsel could provide the most effective legal representation as possible.          A

listing of legal research fees is contained within Exhibit E to the Shoemaker Affirmation.

                                     CONCLUSION

       Plaintiff reserves the right to supplement her fee request to include time spent

preparing and defending this motion for fees, interest, and costs, as well as future fees

and costs in defending the jury’s award and any of Defendants’ attempts to appeal all or

part of the final judgment.

       For the foregoing reasons, as well as those contained within the Shoemaker

Affirmation, Plaintiff’s Motion for Attorneys’ Fees, Pre and Post Judgment Interest and

Costs should be granted in its entirety.


Dated: October 25, 2018                          UNDERBERG & KESSLER LLP
      Rochester, New York
                                                 s/Jennifer A. Shoemaker_________
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                                            11
 
